Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 1 of 56 PagelD #:12

Krislov & Associates, Ltd.
20 North Wacker Drive, Suite 1300
Chicago, Illinois 60606
Telephone: 312-606-0500
Facsimile: 312-606-0207

Notice of Complaint and Request for Waiver of Formal Service

To: The City of Chicago, a Municipal Corporation
c/o — Jennifer Naber
Joseph Gagliardo
LANER MUCHIN, LTD.
515 N. State Street, 28th Floor
Chicago, Illinois 60610

Case Title; Michael W. Underwood, et al. v. City of Chicago. et al.
Docket No.: 2013 CH 17450
Court: in the Circuit Court of Cook County, Illinois, Chancery Division

A lawsuit has been commenced against you (or the entity on whose behalf you are
addressed) in the above-titied action. A copy of the complaint is attached to this notice.

This is not a formal summons or notification from the court, but rather my request that
you sign and return the enclosed waiver of service in order to save the cost of serving you with a
judicial summons and an additional copy of the complaint. The cost of service will be avoided if
we receive a signed copy of the waiver within 30 days after the date designated below as the date
on which this Notice and Request is sent. We have enclosed a stamped and addressed envelope
for your use. An extra copy of the waiver is also attached for your records.

If you comply with this request and return the signed waiver, it will be filed with the court
and 40 summons will be served on you. The action will then proceed as if you had been served
on the date the waiver is filed, except that you will not be obligated to appear or serve an answer
to the complaint until 60 days from the date designated below as the date on which this request
for waiver of service was sent.

Further, your compliance with this request does not thereby waive any objection to the
venue or to the jurisdiction of the court over your person. You may refuse to waive service of
this summons. Summons will be served upon you if you do not return the enclosed waiver.

[affirm that this request is being sent to you.on behalf of the plaintiff, this 26th day of
July, 2013.

 

By:

 

Clinton A. Krislov

KRISLOV & ASSOCIATES, LTD.
20 North Wacker Drive, Suite 1350
Chicago, Illinois 60606

(312) 606-0500

FACASHSUACLIMVAVALIVER OF SIERVICE-PACT TY DOC
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 2 of 56 PagelD #:12

To:  Krislov & Associates, Ltd.
20 North Wacker Drive, Suite 1300
Chicago, Iflinois 60606

Re: Case Title: Michael W. Underwood, et al. v. City of Chicago, et al.
Docket No.: 2013 CH 17450

Court: In the Circuit Court of Cook County, Illinois, Chancery Division
Acknowledgment of Receipt of Complaint and Waiver of Service

J acknowledge receipt of your request that I waive service of a summons in the above-titled
action.

I have received a copy of the complaint in the action via messenger, two copies of this
instrument, and a means by which I can return the signed waiver to you without cost to me.

I agree to save the cost of service of summons and an additional copy of the complaint in
this lawsuit by not requiring that Named Defendant, The City of Chicago, a Municipal
Corporation, be served with judicial process.

The City of Chicago will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons. .

I understand that a judgment may be entered against The City of Chicago if an answer or
appropriate motion is not served upon you within 60 days after the date this request was sent,

September 26, 2013.

 

 

 

Named Defendant

seen nn by

Date Signature
Printed / Typed name:
Title:

 

PoC ASRS PACTTVAVAIVYER OF SERVICT OF SUMMONE-PACTIV BOL
Case: 1: 13- -CV- 05687 Document #: 1-1 Filed: 08/09/13 Page 3 of 56 6 PagelD #:12

231 B) Clerk of the Circuit Court

j Electronic Docket Search

    
     

Case Information Summary for Case Number
2013-CH-17450

Filing Date: 7/23/2013 Case Type: CLASS ACTION
Division: Chancery Division District: First Municipal
Ad Damnum: $0.00 Calendar: 09

Party Information

Plaintiff(s) Attorney(s)
UNDERWOOD MICHAEL C KRISLOV CLINTON A
20N. WACKER #1350

CHICAGO IL, 60606
(312) 606-0500

VUICH JOSEPH M

SCACHITTI RAYMOND

MCNULTY ROBERT

DORN JOHN E

SELKE WILLIAM J

ARCHER JANIECE R

MUSHOL DENNIS

AGUINAGA RICHARD

SANDOW JAMES

SANDOW CATHERINE A
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 4 of 56 PagelD #:12
JOHNSTON MARIE

IN EXHBIT 1 TO THIS 320 A

Date of Service Defendant(s) Attorney(s)
CITY OF CHICAGO
TRSTEES,LABORERSFUND

TRUSTEES, POLICEFUND

TRUSTEES, FIREFUND
TRUSTEES,MUNICIPAL
Case Activity
Activity Date: 7/23/2013 Participant: UNDER WOOD MICHAEL C
CLASS ACTION COMPLAINT FILED (JURY DEMAND)
Court Fee: 567.00 Attorney: KRISLOV CLINTON A
Activity Date: 7/23/2013 Participant: UNDERWOOD MICHAEL C
EXHIBITS FILED
Aittomey: KRISLOV CLINTON A
Activity Date: 7/23/2013 Participant; VUICH JOSEPH M
EXHIBITS FILED
Attomey: KRISLOV CLINTON A
Activity Date: 7/23/2013 Participant: SCACHITTI RAYMOND
EXHIBITS FILED
Attorney: KRISLOV CLINTON A
Activity Date: 7/23/2013 Participant: MCNULTY ROBERT
. EXHIBITS FILED
Attorney: ERISLOV CLINTON A
Activity Date; 7/23/2013 Participant: DORN JOHN E
EXHIBITS FILED

Attorney: KRISLOV CLINTON A
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 5 of 56 PagelD #:12

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Activity Date: 7/23/2013

Participant: SELKE WILLIAM J
EXHIBITS FILED

Attorney: KRISLOV CLINTON A

Participant: ARCHER JANIECE R
EXHIBITS FILED

Attorney: KRISLOV CLINTON A

Participant; MUSHOL DENNIS
EXHIBITS FILED
Attorney: KRISLOV CLINTON A

Participant: AGUINAGA RICHARD
EXHIBITS FILED
Attorney: KRISLOV CLINTON A

Participant: SANDOW JAMES
EXHIBITS FILED

Attorney: KRISLOV CLINTON A

Participant: SANDOW CATHERINE A
EXHIBITS FILED
Attomey: KRISLOV CLINTON A

Participant: JOHNSTON MARTE
EXHIBITS FILED

Attorney: KRISLOV CLINTON A

Participant: IN EXHBIT 1 TO THIS 320 A
EXHIBITS FILED
Attorney: KRISLOV CLINTON A

Participant: UNDER WOOD MICHAEL C

CASE ELECTRONICALLY FILED

Attomey: KRISLOV CLINTON A

Participant: UNDERWOOD MICHAEL C

SPECIAL PROCESS SERVER STANDING ORDER-FILED
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 6 of 56 PagelID #:12
Attorney: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: VUICH JOSEPH M
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attorney: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: SCACHITTI RAYMOND
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attorney: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: MCNULTY ROBERT
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attomey: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: DORN JOHN E
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attomey: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: SELKE WILLIAM J
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attorney: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: ARCHER JANIECE R
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attomey: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: MUSHOL DENNIS
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attomey: ERISLOV CLINTON A

Activity Date: 7/23/2013 Participant: AGUINAGA RICHARD
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attorney: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: SANDOW JAMES
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Attorney: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: SANDOW CATHERINE A
SPECIAL PROCESS SERVER STANDING ORDER-FILED
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 7 of 56 PagelD #:12

Attomey: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: JOHNSTON MARIE
SPECIAL PROCESS SERVER STANDING ORDER-FILED

Attomey: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant: IN EXHBIT 1 TO THIS 320 A
SPECIAL PROCESS SERVER STANDING ORDER-FILED

Attomey: KRISLOV CLINTON A

Activity Date: 7/23/2013 Participant; UNDERWOOD MICHAEL C
CASE SET ON CASE MANAGEMENT CALL

Date: 11/20/2013
Court Time: 1000
Court Room: 2402

Judge: NOVAK RITA M.
Attorney: KRISLOV CLINTON A

 

Please note: Neither the Circuit Court of Cook County nor the Clerk of the
Circuit Court of Cook County warrants the accuracy, completeness, or the currency
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in our master database,

Start a New Search
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 8 of 56 PagelD #:12

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

Michael C. Underwood, Joseph M. Vuich, Raymond
Scacchitti, Robert McNuity, John E. Dorn, William J.
Selke, Janiece R, Archer, Dennis Mushol, Richard
Aguinaga, James Sandow, Catherine A. Sandow, Marie
Johnston, and 320 other Named Plaintiffs listed in
Exhibit 1,

Plaintiffs,
vs.

CITY OF CHICAGO, a Municipal Corporation,
Defendant,
and

Trustees of the Policemen’s Annuity and Benefit Fund
of Chicago: Amer Ahmad, Juan Carlos Avila, Kenneth
Hauser, Michael K. Lappe, James P, Maloney,
Stephanie Neely, Lois A. Scott, Brian Wright; and -

Trustees of the Firemen’s Annuity and Benefit Fund of
Chicago: Amer Ahmad, Walter Carlson, Dan P.
Fabrizio, Anthony Martin, Stephanie Neely, Michael
Shanahan, Charles Stewart, [1], Susana Mendoza: and

Trustees of the Municipal Employees’ Annuity and
Benefit Fund of Chicago: Amer Ahmad, Anthony
Clancy, Martin J. Durkan, Timothy G. Guest, Stephanie
Neely; and

Trustees of the Laborers’ & Retirement Board
Employees’ Annuity & Benefit Fund of Chicago: Amer
Ahmad, John Arvetis, Carol Hamburger, William L.
Irving, Michael LoVerde, Stephanie Neely, Joseph
Rinella, Lois Scott,

Defendants.

Nee el Ne! nae” Sm accel” Cee ee ae ae Neel Nel” Neuer” Mie!” Mee” he” Semel” Smee” mee!” Met” anet! Shapuset” Nee!” Nemeet” aeet” Siaeet” Smee” Mme Se” No “nee! Stee! “eee? Meee”

CLASS ACTION
COMPLAINT

JURY TRIAL DEMANDED

Previous Nos. 01 CH 4962 and
87 CH 10134

Aol Qn (7450
Cal. 9
filed 7/23/e0rs

CLASS ACTION COMPLAINT
By Participants in the City of Chicago’s Annuitant Healthcare Plan
For Declaratory Relief Against the City of Chicago and
the Trustees of the Police, Fire, Municipal Employees and Laborers

Annuity and Benefit Funds
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 9 of 56 PagelD #:12

L. This Complaint seeks permanent relief for annuitant healthcare participants in
litigation that has continued off and on for 26 years.

2. Background of the Case. This case was originally filed October 19, 1987 (City v.
Korshak, et al., (Trustees) and Ryan. et al. (Participants), Circuit Court of Cook County, No. 87
CH 10134) by the City to enable it to terminate its Annuitant Healthcare coverage for
participants in the City’s four Annuity and Benefit Plans, and recover monies expended under
the Plan in prior years. The trustees/board members of the four affected annuity and benefit
funds, and the annuitant healthcare plan participants class asserted counterclaims, seeking to
force the City and the Pension Funds’ trustees to continue annuitant healthcare coverage under
the terms of the Annuitant Healtheare Plan as in effect on October 1, 1987 (through the August
23, 1989, date the Pension Code was amended in this respect.) After dismissing the City’s
claims, the case proceeded on the counterclaims by the Funds and Participants’ claims against
the City. A trial was conducted in 1988 before Hon. Albert Green. Prior to the verdict, the City
and Trustees entered into a 10-year class action settlement that was approved by the Circuit
Court over the participant class’ objections, and affirmed by the Illinois Appellate Court.

3. At the conclusion of that ten-year settlement, the participants moved to revive the |
litigation, were initially denied by Judge Green, reversed by the ILinois Appellate Court,
reviving the litigation, under Docket No. 01 CH 4962, which eventually was resolved in 2003 by
another ten-year agreement, this time approved by all parties and the coutt, settling the dispute
for the period through June 30, 2013; again with rights of participants to thereafter reassert their
rights/entitlement to healthcare coverage in their retirement.

4, Participant Class Counsel’s motion to revive the litigation under the City v.

Korshak case was denied, the judge now assigned to that calendar ruled that assertion of the
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 10 of 56 PagelID #:12

Participants’ retained rights would have to be done in a new action, Hence, this Complaint is
filed to assert Participants’ rights to healthcare in their retirements.

5. With respect to the claims asserted herein by the participants, the participants sue
as plaintiffs, seeking relief against the City as a defendant (for its actions and announced
intention to reduce the healthcare benefits provided to class members), and seeking a declaration
that the Funds, as additional defendants, must continue their current subsidy for class members
for life without reduction.

6. Class members’ uniform claim is that under the 1976 Illinois Constitution Article
XIII Section 5, they are each entitled to the unreduced level, determined at the date they began
participation in any of the four affected Annuity & Benefit Plans, of annuitant health benefits
provided by the City and as then subsidized by their particular Plan.

7. Class/Subclass Definitions. Class members’ claims are identical across the four
Funds, varying only by which of the following categories/subclass the particular participant’s
entitlement to healthcare arises from (as the retiree or his/her spouse/dependent):

i) a person who retired by 12/31/1987 (the “Korshak” sub class) (this
was the initial class certified in the 1987 Korshak Settlement)).

ii) a person who retired after 12/31/1987, but before 8/23/1989 (the
“Window” or “Jacobson” sub class) (the class that retired after the
Korshak class date, but prior to the enactment of P.A.86-273
incorporating language of the Korshak settlement)).

iii) a person who began their participation in one of the Funds (initial
hiring date) before 8/23/1989 (thus entitled to benefits of
participation no less than when they entered the system); and

iv) a person who began their participation after 8/23/1989 (participants
who were hired after P.A.86-273’s enactment).

3. For purposes of the Original litigation, continuing through all of the Settlements,

undersigned counsel Krislov is the court-certified class counsel for the first two subclasses. In
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the 2003 Settlement, the Funds trustees represented the post-8/23/1989 retiree participants.
However, going forward, the Krislov firm has been engaged by participants in all four
categories, and the Krislov firm asserts that it is the appropriate class counsel for the court to
certify for all four participant classes.

9, Summary of the case. From before October 1987, to a period beyond August 23,
1989, the City's annuitant healthcare plan was continued without change.

10. The 1988 Trial. During June 1988, the Cook County Circuit Court conducted a
trial of the trustees’ and participants’ claims that existing annuitants are entitled to permanent
coverage under the City Plan as it existed on October 1, 1987. In that trial, the Participants
asserted the following claims:

{a) Contract, The city bound itself contractually to cover the then-existing
annuitanis healthcare for life charging premiums equal to the statutory
supplement paid by the pension funds; the premiums were subsidized by
the Funds--the annuitants’ entire premium for Police and Fire annuitants,
$25 per month for Municipal and Laborers.

(b) Detrimental Reliance/Estoppel. The city, through its authorized officials,
affirmatively induced the annuitants to act to their detriment, in joining
and continuing their coverage the City's annuitant healthcare plan, in
reliance upon the City's assurance of lifetime medical care coverage, and-
the City is now estopped from terminating or reducing those benefits.

(c) Hlinois Constitution. The Annuitant Healthcare Plan, as in effect on
October 1, 1987 through August 23, 1989, was a benefit of participation in
an Illinois statutory pension or retirement system, so 1970 Illinois
Constitution, Art. 13, Section 5, prohibits the city's attempt to eliminate or
reduce Lifetime fixed rate subsidized Medical Care as a retirement benefit.

(i) The City of Chicago Retirement Medical Plan is a pension and
retirement benefit of City of Chicago employment.

ii) A participant's right to coverage under the plan vests, and cannot
be reduced after his entry into the system.
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(iii) A participant's right to coverage under the City's Retiree
Healthcare Plan vests no later than his retirement, and the terms of
the benefits cannot be reduced thereafter.

(d) _—_ Illinois Constitution, Special Legislation. The statutory provisions (P.A.
86-273 and P.A. 90-32/June 27, 1997) as they purport to change the terms
or protection of class members’ healthcare coverage are invalid special
legislation because they apply only from employment by a named
municipality. (1970 Tl. Const. Art. IV, Sec. 13).

11. After the trial, but prior to a decision being rendered by the Court, the City and
the Pension Fund trustees reached an agreement between themselves which, through 1997,
reduced the City’s share of annuitant healthcare coverage from 100% of the cost in excess of the
healthcare levy, to "at least" 50% overall; increased the Pension Funds' subsidy or healthcare
levy; and substantially increased the cost to annuitants.

12, Pursuant to the Settlement Agreement, the participants, at the end of 1997, were
restored to whatever rights they held at the beginning of the case.

13. Unfortunately, no permanent resolution of the retiree healthcare issue was ever
reached. Consequently, the litigation revived once again thereafter, culminating in a series of
Settlements which though reaching the end of their terms on June 30, 2013 for the 2003
Settlement, all explicitly preserve Class members’ rights to assert:

“any claims with regard to the provision of annuitant healthcare

benefits, other than claims arising under the prior settlement of this

Action or under the 1989, 1997, or 2002 amendments to the

Pension Code, or for damages relating to the amounts of premiums

or other payments that they have paid relating to healthcare under

any prior health care plans implemented by the City, including this

Settlement Agreement.” (2003 Settlement Agreement, Sec. TV.J)

14. Accordingly, Plaintiffs, for themselves and the Participant class-members,

respectfully ask this Court to declare the rights of participants under the Illinois Constitution, the

Illinois Pension Code, and common law, as follows:
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I,

(i) Declare that all participants are entitled to permanent coverage under
the plan in effect on the day they joined the system, with any
improvements as were added thereafter.

(a) For the participants by a person who retired prior to 8/23/1989:

Order the City to restore the annuitant healthcare plan to the terms
in effect during the period October 1, 1987 through August 22,
1989, for persons who have been continuous participants during
the class period to the present. (The “Korshak” class, or “1987
Participant Class”, defined as all persons who were participants on
December 31, 1987; plus the Jacobson or Window class of those
participants who first became annuitant healthcare plan
participants after December 31, 1987 but on or before August 23,
1989, are also entitled to participate on the same basis.

(>) For those participants who began their participation in one of the City’s Annuity
and Benefit Funds (.e., initial hire date) prior to 8/23/1989:
permanent coverage under the plan then in effect—ie., a fixed-rate plan

subsidized by the participant’s Fund at the premium or no less than the
highest rate in effect at any time.

(c) For those participants who began their participation after 8/23/1989:

permanent coverage under the plan in effect on their hire date, with Fund
subsidy at the highest rate in effect during their participation.

Facts about the Retiree Healthcare Plans for City of Chicago Retirees, and the
Original Korshak litigation.

Plaintiffs, Class Members believe that there is no material dispute as to the

following facts:”

 

1)

* References and Authorities Cited. Unless otherwise described:

All statutory references are to either the provisions of Ilinois law in effect during the period
October 1, 1987 through August 23, 1989, including generally, provisions of the Illinois
Municipal Code, Ill Rev.Stat. Ch, 24 ("Municipal Code § ") or to the Illinois PensionCode,
TiL.Rev.Stat. Ch, 108-1/2 ("Pension Code § (1986), or to their subsequent provisions under
the Pension Code under the current ILCS format 40 ILCS 5/.

 

 
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Parties:
15. Plaintiffs. Each of the Named Plaintiffs listed in Exhibit 1 hereto is a participant
in one of the four City of Chicago Annuity and Benefit Funds, having the indicated hire and

retirement date,

 

2) Trial Exhibits are referred to as identified in the Trial of this matter June 20-22, 1988, either as
introduced at trial or by stipulation. "DX" means Defendants’ Exhibits, "CX" indicates a City

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit,
3) Testimony by individuals is referred to by their last name and the appropriate page in the trial
transcript.
June 20,1988 Witnesses - Afternoon Session
Witness a _ Role Page.
James B. Waters, Executive Director Police Fund 4-48
Jarnes Capasso, Jr., Executive Director Laborers Fund 49-65
Norman 8. Holland, Trustee Fire Fund 66-94
Thomas J. Stack Municipal Fund 94-99
June 21, 1988 Witnesses - Morning Session
Witness wo Role Page
Edward Arenz Blue Cross 8-36
Peter Jundersits Annuitant _. 37-43
Richard Gayne Annuitant 43-53
Charles T, Wilhelm Annuitant _ , 53-59
Edwin Ogonowski Annuitant 59-63
Benedict J. Scacchitti Annuitant 63-70
Bernard P, Sweeney Annuitant 70-74
Sam Venturella __| Annuitant 74-81
Robert Shackleton Annuitant 81-84
Fred Hince Annuitant 84-93
Maryanne Hester Spouse 93-98
Constance Becker Widow 98-101
_____ dune 2], 1988 Witnesses - 4 flernoon Session
Witness ae Role _Page
Sharon Gist Gilliam City Chief Operating Officer 3-82
Daniel K, Kubasiak __| Former City Budget Officer 83-108
June 22, 1988 Witnesses
Witness Role Page
Ronald Picur City Comptroller 114-149
S, Nathan Williams __| City Risk Manager 150-169
Al John Fattore City GS Director of Finance 169-188

 

 

 

 

 
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16. The CITY OF CHICAGO (the "City") is a municipal corporation organized in
accordance with Section 1-1-1 of the Illinois Municipal Code, Ill-Rev.Stat. Ch. 24, (1-1-1. The
City is sued as a defendant.

17. ‘The Pension Funds. The POLICEMEN'S ANNUITY & BENEFIT FUND OF
THE CITY OF CHICAGO (the "Police Fund"), the FIREMEN'S ANNUITY, BENEFIT FUND
OF THE CITY OF CHICAGO, (the "Firemen's Fund" or the "Fire Fund"), the MUNICIPAL
EMPLOYEES, OFFICERS AND OFFICIAL ANNUITY AND BENEFIT FUND (the
"Municipal Fund"), and the LABORERS' AND RETIREMENT BOARD EMPLOYEES! AND
BENEFIT FUND OF CHICAGO (the "Laborers Fund") were each created and operate under,
respectively, Articles 5, 6, 8 and 11 of the Illinois Pension Code, Il,Rev.Stat, Ch. 108-1/2, to
provide for and administer, inter alia, certain annuity, disability insurance and healthcare
programs under the Illinois Pension Code (Previously contained in U.Rev.Stat. Ch. 108-1/2, the
"Pension Code’s current provisions are contained in 40 ILCS 5/Arts. 5, 6, 8 and 11).

18. The Funds as Necessary Parties, The Funds are necessary parties in any event,
because of their involvement in the statutory scheme. However, they are sued as cross-
defendants only for a declaration that they are not permitted to reduce their subsidy for class
members from the highest levels enjoyed by each participant; currently $95 monthly for those
not Medicare qualified, $65 for those who are Medicare qualified. If they acknowledge their
obligation as such under 1970 Ul. Const. Art. XIII §5, then the Participants/Cross-Plaintiffs seek
no further substantive relief against them.

19, The Trustees, ef. al., and their successor trustees were or are the
Members/Trustees of their respective Fund's Board of Trustees, sued in their official capacities,

and may be retitled for their current trustees.
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20, City Officials. By their offices with the City, (i) the City Compiroller is a
member of the Board of Trustees of the Firemen's and Municipal Fund and his designee sits as a
member of the Laborers’ Fund. Pension Code §§6-174, 8-192 and 11-181; (ii) The City

Treasurer, City Clerk and City Fire Marshall are also ex officio members of the Firemen's Fund

 

Board (§6-174); Gii) the City Treasurer also sits on the Police Fund's Board (§5-178) and
Municipal Fund's Board (§8-192). Each Board has one annuitant member (5-178, 6-174, 8-192,
11-181). The rest of each Board is either appointed by the Mayor or elected by the active
employees who participate in the Fund.

21. The City's Medical Benefits Program. Since approximately 1964, the City has
maintained a medical benefits program in which annuitants are entitled to participate. Many of
the Funds' annuitants have participated, with the active City of Chicago employees, in the group
medical benefits program sponsored by the City. That program, since the mid-1970's, has been
administered on a self-funded (7.¢., the City pays these claims itself rather than obtaining
"insurance" coverage from an outside third party provider), "claims made" basis (meaning that
sufficient money is appropriated each year for claims expected in that year only).

22. ‘The City's healthcare program has generally been administered by private carriers
who are reimbursed by the City (often referred to as "ASO" for "Administrative Services Only."

23.  Annuitant Participation, Based on the most recent reconciliation report for 2011,
the participants total 24,721, including annuitants of all four Annuity & Benefit Funds, plus
survivors and dependents who participate in the City's Annuitant Medical Plan for their primary
medical coverage,; Policemen’s Fund participants 9,183, Firemen’s Fund 3,253, Municipal

Employees’ Fund 9,522 and Laborers’ Fund 2,763,
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 17 of 56 PagelID #:12

24, These annuitants are now predominantly over age 65. Due to age and existing
medical conditions, some (probably most of them) would be unable to obtain their own medical
coverage at an affordable cost or to qualify for alternative medical coverage at all. Based on
their initial hire date, many of them cannot qualify for Medicare coverage from their City
employment; some are without sufficient qualifying employment quarters at all, and can obtain
Medicare coverage only by paying additional premiums.

Relevant Constitutional and Statutory Provisions

25, Illinois Constitution. Under the 1970 Illinois Constitution, municipal pension
membership benefits are enforceable contractual relationships which may not be diminished or
impaired:

"Membership in any pension or retirement system of the
State, any unit of local government... or any agency or
instrumentality thereof, shall be an enforceable contractual
relationship, the benefits of which shall not be diminished

or impaired."
1970 illinois Constitution, Art. 13, §5.

26, Group Health Benefits for City Annuitants have been a benefit of Participation in
the City’s Annuity & Benefit Funds since at least 1982. The City of Chicago’s annuitant

healthcare plan in existence from 1982 through at least 1989, was the statutory result of a
“handshake” agreement between the City’s Byrne administration, the Police and Fire Unions
and/or Funds trustees, under which the City agreed to provide healthcare coverage to annuitants
at a fixed-rate monthly premium($55 for non-Medicare qualified, $21 for Medicare-qualified
persons) that was to be subsidized by the Police and Fire Funds’ payment of the annuitant’ s
monthly premium, that was financed by a special tax levy for the Funds. This was understood
and intended to be both a benefit of a person’s employment by the City and participation in the

annuitant’s respective annuity and benefit fund.

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27. Statutory Levy/Subsidy. Incorporating this agreement, P.A.82-1044 was enacted
into the Illinois Pension Code obligating the Policemen’s Fund (5-167.5) and the Firemen's Fund
(6-164.2) to contract to provide group health insurance for all annuitants, with the basic monthly
premium to be contributed by the City in an amount of $55.00 per month for annuitants who are
not qualified for the Medicare program; $21.00 for Medicare-qualified annuitants,

28. Nomedicare coverage for existing subclass of retirees whose original hire date
precedes April 1, 1986. Local government employees who were originally hired and began their
work prior to April 1, 1986 (federal Combined Omnibus Budget Reconciliation Act of 1985
("COBRA,” PL 99-272 § 13205(a)) cannot qualify for healthcare coverage under the Medicare
plan by their government employment, regardless of their length of service.

29. Accordingly, since all of the class members of the 1987 Participant Class and the
Pre-8/23/89 retiree participants began their City employment prior to April 1, 1986, none of them
can qualify for Medicare coverage by reason of their employment for the City of Chicago.

Arenz at 29 (as to 1987 Class),

 

30. However, all existing City workers who were first hired after March 31, 1986,
have accrued or are accruing qualifying calendar quarters of employment towards the required
29 quarter condition for full coverage under the Medicare program upon reaching age 65. Arenz
at 29,

31, Other existing government employees can be subjected to the Medicare program
by an agreement between the City and the federal government, if the City desires to do so.

32, Unique Position of these retirees, and their substantial numbers, Consequently,
the class member annuitants who began their service for the City prior to April 1, 1986 are the

last class of City workers who will not be protected by the Medicare program. Although the

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number of these participants is currently known only to the City and the Funds, it certainly
numbers 2 substantial portion of the class, since even with only twenty years of service, the
earliest of the Medicare-qualified by government work would not have begun retiring before
2006,

33. Statutory Subsidy: Police and Firemen's Funds. Since January 12, 1983, and
continuing through 8/22/1989 (the date of enactment of P.A.86-273) Pension Code Sections 5-
167.5, 6-164,2, respectively, required the Police and Firemen's Funds' Boards to each contract
for group health insurance and required the City to pay for a portion of its cost, for electing

annuitants, out of the City's levy for its contribution to the Police Fund.

% * x

(b) The Board shall contract with one or more carriers to provide health
insurance for all annuitants.

* * *

{d) | The Board shall pay the premiums for such health insurance for each
annuitant with funds provided as follows:

The basic monthly premium for each annuitant shall be
contributed by the city from the tax levy prescribed in Section 5-
168 [6-165 for Firemen's Fund], up to a maximum of $55 per
month if the annuitant is not qualified’ to receive Medicare
benefits, or up to a maximum of $21 per month if the annuitant is
qualified to receive Medicare benefits.

If the basic monthly premium exceeds the maximum amount to be
contributed by the city on his behalf, such excess shall be
deducted by the Board from the annuitant's monthly annuity,
unless the annuitant elects to terminate his coverage under this
Section, which he may do at any time,
34, Thus, the agreement benefited all three affected groups. The City was able to
provide a valuable benefit without having to fund a pay increase out of its budget; the Funds

were able to contract for the healthcare coverage (with the City as the carrier) without invading

their pension assets, and the Police and Fire employees and annuitants could anticipate and rely

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on adequate healthcare for life at no net cost to the annuitant, fixed-rates for coverage of spouses

and dependents.

35. Statutory Subsidy: Municipal and Laborers! Funds. During 1984, legislation was
added to the Illinois Pension Code, P.A. 8423, establishing similar Group Health Care Plans
under the Pension Code for Municipal and Laborers Funds annuitants.

36. | The Municipal and Laborers' Funds statutory directive for group health benefits
differed from Fire and Police. The Municipal and Laborers’ Boards are directed to "approve" a
plan and the subsidy is equal to a flat $25.00 per month. Section 11-160.1 IlLRev.Stat. Ch. 108-
1/2, Sec. 11-160.1 (eff. August 16, 1985) for the Laborers’ Fund; Pension Code Section 8-164.1,
Tl. Revy.Stat Ch, 108-1/2, Sec. 8-164.1 (eff. July 19, 1985) for the Municipal Fund. Those
statutes provide in relevant part:

"Bach employee annuitant in receipt of an annuity on the effective
date of this Section and each employee who retires on annuity
after the effective date of this Section, may participate in a group
hospital care plan and a group medical and surgical plan approved
by the Board if the employee annuitant is age 65 or over with at
Jeast 15 years of service. The Board, in conformity with its
regulations, shall pay to the organization underwriting such plan
the current monthly premiums up to the maximum amounts
authorized in the following paragraph for such coverage.

As of the effective date the Board is authorized to make payments
up to $25 per month for employee annuitants age 65 years or over
with at least 15 years of service.

If the monthly premium for such coverage exceeds the $25 per
month maximum authorization, the difference between the
required monthly premiums for such coverage and such maximum
may be deducted from the employee annuitant's annuity if the
annuitant so elects; otherwise such coverage shall terminate."

37, Municipal and Laborers provisions purport to create non-protected benefits.

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Different from the already existing provisions for Police and Firemen, the 1984 legislation
creating Pension Code Sections 8-164.1 and 11-160.1 characterizes the group hospital and
medical care benefits provided for Municipal and Laborers' Funds participants as not being
pension or retirement benefits under Section 5 of Article XII of the Illinois Constitution of 1970.

38. Legal issue of the legality of creating a non-protected benefit of participation. It
has never been determined that the Municipal and Laborers Funds’ limiting statutory language is
effective to strip these benefits of participation in a statutory pension plan of their Art. XIII,
Sec.5 protection against diminution or impairment.

39, Prior to August 23, 1989, the Police and Fire provisions had never contained such
limiting language. See Pension Code §§5-167.5 and 6-164.2.

40. The City Has Historically Paid For Retiree Healthcare Costs, Since the mid-
1970's, when the City health benefits plan became self-funded, the City has been paying all or a
significant portion of the costs of the annuitants' medical benefits. Indeed, the City has actually
functioned as the self-insured carrier for the annuitants’ health care plans for all four relevant
Funds.

41, Premiums Charged To Funds/Annuitants, Effective April 1, 1982, the City

established the following monthly rates for the Funds’ annuitants’ medical benefits coverage:

 

 

 

 

 

 

Under Age 65 — Single $ 55,00
Under Age 65 — Family of Two 110,00
Under Age 65 — Family of Three or more _ 150.00
Medicare Eligible - Single 21.00
Medicare Eligible — Two 42.00
One Over Age 65, One Under Age 65 76.00

 

 

 

 

42, These rates for the Funds' annuitants' medical benefits coverage remained

unchanged to a date beyond Aupust 23, 1989.

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43. Thus, from April 1, 1982 through August 23, 1989, annuitants received their
healthcare coverage as a benefit of participation in their Funds, who obtained that coverage from
the City, who acted as the self-insured carrier for the plan, and paid all of the “insurer’s” costs of
the Funds' annuitants medical benefits program to the extent that they have exceeded the
premium rates.

44. Communication of Coverage to Annuitants. In approximately 1984, the City
prepared a booklet advising individual annuitants of their rights, benefits and the terms of the
City's annuitant medical care plan. This document was distributed to employees at or about the
time of their retirement and was also submitted to existing annuitant participants as part of the re-
enrollment process.

45.  Pre-Retirement Seminars, From at least 1984 until sometime in 1987, the City
also presented a series of "Pre-Retirement Seminars" to employees. Employees near retirement
were invited to attend to inform them as to the terms of various benefits upon retirement
including the City's annuitant medical benefit plan. Ogonowski at 60 ff; DX 24, 26,

46. City officials of the Health and Benefits Office were present, in person, at the
seminars to explain the terms of these provisions.

47, In describing these provisions, referring City employees and their attendees were

told that they would be able to participate in the heaith plan for life, that their own coverage was

 

to be for life at no cost; and that they would only have to pay for additional coverage for spouse
and dependents. “Jandersits at 40, 42; Wilhelm at 55; Ogonowski at 61; Sweeney at 72; Mrs.

Hester at 95-96,

 

A8, It thus became widely understood among City employees that they could rely on

this subsidized fixed-rate plan for their lifetime following retirement from their City

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employment; at no out-of-pocket premium cost for Police and Fire annuitants own coverage,
subsidized at $25 per month for Municipal and Laborers annuitants,

49. Actions by Retirees. Many employees worked, retired and made plans on the
basis of the representations made to them in these seminars, ¢.g., Jandersits at 40. Additionally,
it was the common understanding among City employees that the City would provide medical
coverage for life upon retirement, (Wilhelm at 55-6; Scacchitti at 68; Hince at 85) and that was a
significant factor for many individuals in choosing to work for the City, rather than work for a
private sector employee, e.g., Gayne at 44-45,

50. Many individual employees retired on the basis that this coverage existed, Carlisle
Moore, Fire Stip. #1; Feinberg, Fire Stip. #3, and did not seek medical coverage elsewhere.

51. Many employees made retirement plans in reliance on that promise. Sweeney at
72-73; Zalley (Fire Stip. #5),

52. Some people purchased property elsewhere in reliance on the continued existence
of medical coverage upon the terms described. Shackleton at 82-83.

53. Most of the pre-8/23/1989 retiree class member annuitants who survive, are now
over age 74; some are in ill health (e.g., Scacchitti at 66ff) or have family members whose
condition is such that they would have great difficulty qualifying for separate individual medical
coverage either at affordable cost or at all, (e.g., Wilhelm at 56; Ralicki, Fire Stip. #2),

54. The usual practice in the Chicago area during the pre-8/23/1989 class period was
that large public sector employers paid the entire cost for retiree medical coverage premiums,
Arenz at 19, and did not retroactively change healthcare benefits for retirees. Arenz at 23, 28.

55. The City's Budget/Appropriations for Retiree Healthcare Benefits. The City

funds used for annuitants healthcare benefits in the years 1980 through 1987 were included in the

 

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City Budget, under line items designated under the decimals ",042," generally under Department
9112: Department of Finance-General.

56. Appropriation Language: 1980-84: 1986-87. In the 1980 through 1984, 1986 and
1987 City Budgets, line item .042 was described in the following terms:

For health maintenance organization premiums or
cost of claims and administration for hospital and
medical care provided to eligible employees and
their families including employees on duty
disability leave. (Source DX37, 40, 41.)

57. 1985 Appropriation Language. In the 1985 City Budget, line item .042 was
described as:

For the health maintenance organization premiums
or cost of claims and administration for hospital and
medical care provided to eligible employees and
their families including employees on duty

disability leave and for partial payment of the cost
of claims and administration for hospital and

medical care provided to certain participants in the
Policemen's Annuity and Benefit Fund, Firemen's
Annuity and Benefit Fund, Laborers’ and

Retirement Board Emplovees' Annuity and Benefit

Fund, and Municipal Employees Annuity and
Benefit Fund. (DX39, emphasis added.)

58. The 1985 language was inserted by the City Council's Budget Committee to
clarify the annuitant medical coverage under line item .042. Kubasiak at 89.

59. Manner of Budgeting. Each year beginning at least 1980, the line item 042
budget appropriation was accomplished by taking the previous year's actual expenditure (to the
extent already spent, plus estimated cost through the end of the current year) and increase it by
an amount reflecting anticipated healthcare inflation or cost increase for the coming budget year.

Gilliam at 8-9ff, 39-40.

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60.

The previous year's expenditure included expenditures paid by the City for

annuitant medical claims without any dispute as to their authorization under the annual

appropriation. Gilliam at 10-11.

61.

Thus, the appropriated dollars for each budget year included annuitant medical

expenses, This was known to the City's Budget Office (Gilliam at 10-11, 18; Fattore at 179) and

 

Council members believed that the annuitants were covered under the City's plan (Gilliam at 18-

19) although the City disputes whether the language of the appropriation legally extends to

annuitant medical expenditures.

62.

The amounts requested, recommended, appropriated and expended for active and

annuitant medical expenses (in excess of the “premiums” received from the Pension Funds and

the annuitants in each year) were:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Year | Dept. Request Mayor's Recom. | Appropriation Actual Expenditures
1979 fopen] [open] [open] $37,002,963
1980 [open] | —-_—- $48,000,000 [open] $46,742.071
1981 _ $56,906,000 $56,906,000 $56,225.06 $64,569,800
1982 $66,200,000 $66,200,000 $65,870,000 $75,100,196
1983 $75,250,000 $75,250,000 $74,650,000 $86,289,215
1984 $88,500,000 $88,500,000 $87,200,000 $84,465,869
1985 | $89,288,200 $89,288,200 $89,438,000 $91,506,685
1986 $97,942,000 $97,942,000 $97,942,000 $83,705,038
1987 $107, 158,500 $107,158,500 $107,158,000

 

Source: DX37-43,

63,

Calculation and Deletion of 1988 Annuitant Healthcare Appropriation. For

1988's requested appropriation, the City Risk Management Department calculated the cost of

annuitant healthcare to be approximately $18 million and the Budget Department eliminated it

from the budget request at Ms, Gilliam's direction. Gilliam at 37; Fattore at 184-187.

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64. Communication of Plan to Annuitants: Regarding Termination of Coverage.
During the period preceding August 22, 1989, the City of Chicago's Annuitant Medical Benefits
Plan provides as follows regarding "Termination of Coverage:"

Coverage for you and your eligible dependents will terminate the
first of the month following:

- the month a deduction is not taken from your annuity, or

- the month you reach the limiting age for City-paid benefits,
if you have not arranged for deductions from you annuity
check.

In addition, coverage for you and your eligible dependents will
terminate the earliest of

- the date it is determined that you have knowingly submitted
false bills or bills for ineligible dependents for
reimbursement under this Plan

- the date the Plan is terminated, or

- the date the Plan is terminated for the class of annuitant of
which you are a member

for hospital and medical care provided to eligible employees and
their families including employees on duty disability leave.

Source: DX33, City X3.

65. At least to August 23, 1989, there had never been any explicit reservation by the
City of any right to amend or terminate the Plan, nor any explicit reservation of any right of the
funds to reduce the subsidy.

66. Cost. and Loss Experience. During the early years of the program the premiums
paid by the funds or the annuitants generally covered the costs of claims for reimbursement of
annuitant medical costs.

67. During 1984, the costs of medical coverage for active employees and annuitants

began to exceed the amount of premiums that were being charged. DX33.

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68. Regardless of whether the costs were greater or less than the "premiums" charged,
the City had never changed the rates charged as premiums under the Plan from April 1, 1982 to
date after August 23, 1989.

69. No Premium Charge for Annuitant. The operation of the Plan was that Police and
Fire Funds' annuitants were not required to pay anything out-of-pocket as premiums for their
own coverage,* Municipal and Laborers’ Funds' annuitants had to pay either nothing or $30.00
per month (depending on their Medicare qualification) and paid their own funds for only the
additional cost of family dependent coverage.

70. City's Past Efforts to Contain Costs. Beginning in 1984, various members of the

 

City administration began to focus on containing healthcare costs. Gilliam at 20, 31; Carmody
Memo 04/15/83 DX9, DX11 and 12.

71.  Re-Enrollment. One effort to contain costs was to require re-enrollment of plan
participants both active and retired. By this all plan participants were required to produce
evidence of their continued qualifications to participate in the City's medical plan. Gilliam at 40;
DX17.

72, The City actively solicited annuitants to re-enroll in the plan. Gilliam at 40;
DX18.

73. During enrollment, the City did not suggest that annuitants seek or investigate the

desirability of obtaining coverage elsewhere. Gilliam at 40-41.

 

74, Nor did the City ever advise the annuitants that their plan had been or would be

considered terminated, by this re-enrollment requirement. Gilliam at 79, 81. Moreover,

 

 

3Tn fact, annuitants do pay a portion of each claim as with usual insured plans. Picur at 142-3;
Williams at 154-64. The City's plan requires the insured to "coinsure" (Le., pay a percentage of
each claim after the first X hundred dollars), 20% of the following X thousand dollars insuring
that individuals do share in the actual out-of-pocket costs of their medical care.

 

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although there is some assertion that this re-enrollment actually constituted a "termination" of the
old plan and institution of a new plan, Gilliam at 80-81, the City’s termination of its annuitant
healthcare plan could have been achieved only by terminating both the active and annuitant pian
together, Arenz at 27, which was not done.

75. The annuitant re-enrollment took place during 1985.

76. 1984 "Trial Balloon" to Raise Costs of Coverage, A proposal was also submitted
under which the premiums would be increased for participation under the City's plan. Gilliam at
20; DX15.

77. Acertain September 10, 1984 report called “City of Chicago Annuitant Medical
Care Benefits," DX12, noted that expenditures were exceeding the "premiums" received, and
proposed that the rates paid by the annuitants be increased by 100% effective two months later,
in November of 1984, and increased by another substantial percentage three months after that, in
January of 1985. DX33; CX52.

78. This proposed rate change was communicated to representatives of the four
pension funds. However, the response of the funds and their participants was so strong and

negative that the effort was abandoned. Gilliam at 52-53.

 

79,  Asaresult, the premiums charged annuitants for participation in the City's
annuitant medical plan had not changed since April 1, 1982, and the annuitants and their families
reasonably expected and relied on that situation to remain unchanged for their lives in retirement.

80. The Ryan Case. In late 1986 or early 1987, the City administration became aware
of a substantial liability that would soon have to be paid to the City's pension funds as a result of
the decision in Ryan v. Chicago, 148 Il. App.3d 638, 499 N.E.2d 517 (IIL App. 1986) (petition

for leave to appeal denied, 505 N.E.2d 361 (1987). In the Ryan case, the City had converted

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pension tax levies to its own benefit, investing the money while in its hands and retaining the
earnings it had made when turning over the principal months later. The Winois Appellate Court
held that the city would have to repay all earnings made on pension fund tax monies used by it
during the period 1979 through 1983 and would have to restore similar earnings made in
subsequent years. Picur at 143-4.

81. The City's Reaction, Among City officials, the expectation was that this "Ryan"
liability would total approximately $20 million. Gilliam at 76. |

$2. In the spring of 1987, a meeting was held among certain members of the City
administration to develop a strategic plan for handling the City's financial problems, medical

costs, and the Ryan case. Gilliam at 19ff; Picur at 118-9,

 

83. At that meeting, were Sharon Gilliam, the City's then Chief Administrative Officer
and Chief Operating Officer; then-Corporation Counsel, Judson Miner; his Assistant Corporation
Counsel, Matthew Piers; then-Comptroller Ronald Picur; and other individuals.

84. At that meeting, a strategic "game" plan was developed to counteract the effect of
the Ryan decision. Picur at 144; DX28 at p. 2 Margin Notes by Gilliam.

85. At that meeting, the Legal Department advised the others of the argument that the
appropriations in the line item ".042" for healthcare would be asserted as not permitting
payments to annuitants. Picur at 119,

86. Aplan was developed to approach the pension funds, advise them that the City
would sue the pension funds to recover the monies spent on annuitant healthcare going back at
least to 1980 unless the pension funds agreed to give up their claim to recovery under the Ryan

case. Picur at 143-4.

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87. Ronald Picur, While this was being planned, then-City Comptroller Ronald D.
Picur continued to sit as a trustee of the Firemen's Annuity and Benefit Fund, the Municipal
Fund and the Laborers' Fund without advising the other trustees of the City's intentions. Picur at
120.

88. Subsequently, on or about May 8, 1987, the City's Corporation Counsel contacted
each of the pension funds, advised them of the Ryan judgment's $25 million potential, and the
City's belief that the medical payments (in similar $25 million amount) had been illegally paid
and would have to be recovered from each pension fund unless they agreed to waive the Ryan
claim. Each fund rejected the offer.

89, Thereafter, on October 19, 1987, the City Corporation Counsel sent each Fund a
letter in which he advised the Fund that he had directed the City’s benefits Office to cease
making healthcare payments to pension fund annuitants as soon as each of the respective pension
funds enters contracts for health insurance, but in no event later than January 1, 1988.

90, The City actually did seek to assert these issues as an offset in the Ryan case, but
was denied by the presiding judge in that case.

91. This Suit Filed by the City. On October 19, 1987, the City then filed suit in this

- case seeking to terminate the coverage, force the pension funds to take over the annuitant
medical cost cbligation and reimburse the City for the $58,000,000.00 it had spent on annuitant
medical coverage through September, 1987.

92. Participants’ Intervention and Class Certification. Martin Ryan and the other

individual] plaintiffs in the Rvan case sought and were granted leave to intervene for annuitants'

interest in this case, represented by Krislov. May 5, 1988 Order. Their motions for certification

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of the class as a class action on behalf of the annuitants were granted by this Court, with
undersigned counsel as class counsel.

93, The pension funds each moved to dismiss the City's claim and moved to file

. counterclaims of their own against the City to continue the coverage unchanged or at least
provided a reasonable period in which the plans could obtain alternative medical coverage.

94. On May 16, 1988, this Court dismissed the City's claim against the Pension
Fund's Trustees but left standing the counterclaims against the City to force the City's annuitant
healthcare coverage to continue.

95. The matter was tried on an expedited basis before this Court during the summer of
1988, and then continued just prior to the filing of briefs when the parties appeared to be near
settlement.

96. The settlement was itself delayed since the necessary enabling amendments to the
Illinois Pension Code were initially vetoed by the Governor and were not enacted and signed into
law until August 23, 1989, P.A.86-273.

97. The Settlements’ Expiration and explicit preservation of participants’ rights to
assert their entitlement to lifetime protection of their benefits. Participants’ claims for coverage
during the periods thereafter through June 30, 2013 were resolved by interim settlements which
have now expired, but all of them explicitly preserving participants’ rights to assert their claims
to permanent retires healthcare thereafter. Korshak 2003 Settlement at Section FV. J., and see
Ryan v. City and Korshak, Ill. App. Court Nos. 1-98-3465 and 1-98-3667, June 15, 2000 Rule 23
Order, reversing the Circuit Court’s refusal to hear the Participants’ claims, as revived following
the 1997 end of the first settlement.

Back to the Present:

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98. May 15, 2613, the City declares its intention to reduce benefits beginning January
1, 2014, and to eliminate all of the City’s retiree healthcare plans by January 1, 2017. (Attached
Exhibit 2, City Letter dated May 15, 2013). Anticipating the June 30, 2013 end of the applicable
settlement periods, the City on May 15, 2013 issued a letter to all retiree healthcare participants
that it intends to:

(i) extend current retiree healthcare benefits to the end of 2013;
Gi) maintain the current level of benefits for pre-8/23/1989 retirees for their
lifetimes;
Gif) make changes beginning January 1, 2014 to the plans with respect later
participants, and terminate their coverage entirely, by January 1, 2017.
Ex. 2, City Letter dated May 15, 2013.

99, The Funds Subsidies after June 30,2013. Per P.A. 86-273 and its following
statutes, the Funds statutory authority to subsidize the healthcare ended June 30, 2013, but was
recently extended by P.A.98-43, signed into law June 28, 2013, extending the current statutory
authorization of the subsidies at their current levels until the earlier of January 1, 2017, or such
date as the City terminates its retiree healthcare plans.

100. The Funds’ trustees will not continue subsidies beyond any time period provided
in the applicable statute, and otherwise refuse to continue the subsidies as benefits of
participation protected solely by Ill. Const. Art. XIU, Section 5.

101. Participants assert that the Funds’ obligations to provide and subsidize healthcare
coverage for annuitants are themselves benefits of participation in their respective Funds
protected by the Illinois Constitution Article XIII, Section 5 from being diminished from the

levels in existence during any Participant’s lifetime.

Hi. Class Allegations

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102. The “iKorshak” subclass-12/1/1987 Retiree Participants, The claims for these
participants are the same ones that have been certified to proceed as a class action with respect to
the 1987 participants (the “Korshak” subclass).

103. The “Window” or Jacobson subclass-Retirees during the 1/1/1988-8/23/1989
“window”. As part of the 2003 Settlement, the action was also certified for the additional or
expanded group to include the participants via a person who retired after 1987, but prior to
August 23, 1989, who share the Korshak class’ claim to common law vesting (entitlement to
permanence for the benefits as they existed on one’s retirement date), plus statutory and
constitutional protections against diminution of benefits which have already begun at a certain
level. (This group, who had filed a parallel case in federal court, led by the Retired Chicago
Police Assn. and participant plaintiffs led by first named plaintiff Jacobson, are commonly _

- referred to as the “window” retirees; persons who retired during the 1/1/88-8/23/89 “window”
period, after the Korshak class date and before 86-273 was enacted.)

104. Pre-8/23/1989 Hirees’ subclass, The third group of class members, who share
common legal issues, are those who “vested” in their retirement benefits by their joining one of
.the relevant Funds on or before August 23, 1989, regardless of their retirement date. (This group
might be called the “Pre-8/23/89 Hiree Vesters”). Their entitlement is based primarily on their

clair to the 1970 Constitution, Art. XTI, Section 5’s protection against diminution or
impairment of their benefits of participation in one of the four Funds determined at their entry
into the system, i.c., their hire date. Buddell v. Bd. of Trustees, State Universities Retirement
System, 118 Iil.2d 99, 103, 514 N.E.2d 184, 186 (1987).

105. Subclass 4-Post 8/23/1989 Hirees. The last subclass are those individuals who

began their participation (by initial hired date) after the passage of P.A.86-273, which added the

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questionable language to the statute purporting to label the retiree healthcare benefits as not
protected by Art. XIII, Section 5, whose claim to permanence of their benefits will turn on the
purely legal issue whether the legislature can legally create a benefit of participation that is not
protected by Article XIU Section 5.

106. All four participant groups, as classes or subclasses, readily qualify for class
certification as to many issues of entitlement to a fixed-rate subsidized retiree healthcare
program against the City and their respective Fund, and no participants’ entitlement conflicts

. with any others.

107. Numerosity. Each group numbers in the thousands, so joinder of all members of
each class or subclass is impracticable. .

108. Common Questions, Each group shares, internally and with each other group, the
common issues of whether their right to a fixed-rate subsidized plan is protected from being
diminished or impaired by the Illinois Constitutional protections of benefits of participation in an
Illinois pension fund. Differences between each group’s entitlement under other theories may
atise. However, they do not conflict with each other. For example, pre-1988 retirees might
additionally claim detrimental reliance that may not be available to pre-1989 vesters who have
not yet retired, But the entitlement claims made for any one of the three groups would not
conflict with either other group’s entitlement claims.

109. Adequacy of Representation. Undersigned counsel Krislov has been engaged by
hundreds of participants and will present representative parties for each of the four participant

‘categories, who will fairly and adequately protect the interest of the classes. The proposed
participant class representatives understand the nature of the claim, the purpose of the litigation,

their role in it, and have no interests antagonistic to the class. And participants’ undersigned

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counsel is well experienced and capable of representing the class or classes, and has long acted
as the certified class counsel in this specific case, already. |

110. Appropriateness. This court has already appropriately found that the class action
is an appropriate method for the fair and efficient adjudication of the controversy, and it remains
sO.

COUNTS AND CAUSES OF ACTION
COUNT I - Diminution of Pension Benefits - State Constitution

111. Plaintiffs re-allege paragraphs 1 through 108.

112. The 1970 Illinois Constitution Article XIU, §5 declares that participants’
memberships in their retirement systems are contractual relationships, the benefits of which shall
not be diminished or impaired:

“membership in any pension or retirement system of the State...
shall be an enforceable contractual relationship, the benefits of
which shall not be diminished or impaired.” (See Constitution of
1970, Art. 13, §5).

113. Participants’ healthcare coverage, terms and Fund subsidy under the Illinois
Pension Code, as it existed on their entry into their particular retirement system (and with
improvements thereafter) are benefits of membership in a pension or retirement system of a unit
of Illinois local government, that Art. 13, §5 prohibits from being diminished or impaired.

114. The defendants’ actions and declared rights to reduce that benefit constitute
unlawful impairment of the participants’ contractual rights under Art. 13 §5 of the 1970 Hlinois
Constitution. |

COUNT TI - Common Law Breach of Contract

115. Plaintiffs’ re-allege paragraphs J through 112.

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116, As per the 1970 Ilinois Constitution, Art, XTI, §5, the plaintiffs and class
members have a contractual right to the fixed-for-life subsidized healthcare premiums in effect
on their retirement date.

117. Also, independent of the Art. XII, §5 of the 1970 Illinois Constitution, under
common law principles of contract, the plaintiffs and pre-8/23/1989 retirement or hire date class
members have a contractual right to the plan in effect during the period October 1, 1987 to
August 23, 1989, at the $55/21 fixed-rate-for-life healthcare premiums, subsidized by their
respective Funds (the entire annuitant premium for Police and Fire annuitants, the $25 or higher
subsidy paid at any time for Municipal or Laborer annuitants) without reduction.

118. The plaintiffs and the class members have performed all the duties and obligations
required of them under the terms of the contract.

119. The defendant City of Chicago has breached its contractual obligation by
unilaterally requiring the plaintiffs and class members to pay increased healthcare premiums.

COUNT TI - Common Law Estoppel

120. Participants re-allege paragraphs 1 through 117.

121. The City and funds are estopped by their own conduct from changing or
terminating the annuitant coverage to a level below the highest level of benefit during a
participant’s participation in the group healthcare benefits.

122. The City is estopped from changing or terminating the coverage for class period
retirees without affording the Funds a reasonable time in which to obtain alternative coverage
from another carrier.

COUNT IV - U.S.C. § 1983

123. Plaintiffs re-allege the forgoing paragraphs of the complaint.

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124. Each plaintiff and class member has a property right to a lifetime healthcare plan,
unreduced from the best terms during a person’s participation in one of the retirement funds.

125. Each healthcare premium charged to the annuitants by the defendants which
exceeds the person’s best entitled premium, is a deprivation of a property right secured under the
Fourteenth Amendment and actionable under 42 U.S.C. § 1983.

126. Each increase in the healthcare premiums, beyond the fixed-for-life subsidized
amount, is a violation of a property right secured under the Fourteenth Amendment and
actionable under 42 U.S.C, § 1983.

127. The City’s actions were and are performed knowingly and under the color of law
by the City of Chicago and its officials, for whom the City is liable herein.

128. The City of Chicago is a “person acting under the color of law” for purposes of 42
ULS.C, § 1983,

129. The actions of each of the defendant pension Funds were and are performed
knowingly and under the color of law by the Pension Fund officials for whom the fund is liable
herein,

COUNT V - Impairment of Contract - Federal Constitution

130. Plaintiffs re-allege the foregoing paragraphs.

131. Art. 13, § 5 of the Illinois Constitution states that membership in any pension or
retirement system of the state shall be an enforceable contractual relationship, the benefits of
which shall not be diminished or impaired.

132. By increasing the healthcare premiums charged to annuitants, or adversely

_ changing the terms or subsidy, the City and the Funds have denied or impaired the plaintiffs’ and

class members’ contractual rights.

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133. The stripping of the Iinois Constitution’s protection of group health benefits
provided under the Pension Code, by reducing them or re-labeling them as “not benefits of
participation” under P.A. 86-273 and other statutes impairs contractual rights of participants.

134. The United States Constitution prohibits States from passing laws impairing the
obligations of contract:

“No State shall... pass any... Law impairing the Obligation of
Contracts...”
(United States Constitution, Art. I, Section 10).

135. Each such adverse change in the group health statutory provisions of the Pension
Code, including, as well, increases in healthcare premiums, is an impairment of a contractual
right in violation of Art. I, § 10, cl. 1 of the Federal Constitution, secured under the Fourteenth
Amendment and actionable under 42 U.S.C. § 1983,

136. Korshak and Window Retirees. With respect to the class members who retired
before August 23, 1989, the statutory recharacterization of group health benefits for Fund
participants, and each healthcare premium charged in excess of the fixed-for-life subsidized rate
alleged herein are thus impairments of a contractual right in violation of the United States
Constitution. |
Il, Conclusion

137. For the above reasons, participants in each class protected by the IHinois
Constitution and by the doctrine of estoppel, are entitled to judgment declaring their rights to a
lifetime healthcare coverage under the best terms in effect during their participation in one of the

City’s four Annuity and Benefit Plans against both the City of Chicago and the Trustees of their

respective Annuity and’ Benefit Funds.

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Prayer for Relief

Wherefore, Plaintiffs, on behalf of themselves and the class members, demand judgment

against the City of Chicago and the defendant pension Funds as follows:

A.

Certify the case as a class action for City of Chicago Retiree Healthcare Plan
Participants, with the four proposed subclasses:

i. Korshak subclass-12/31/1987 annuitant participants,

i. Window subclass-retired Post-Korshak, but pre-8/23/1989,

iii,  Pre-8/23/1989 Hiree Vesters, and

iv. Participants —First hired date after 8/23/1989;

all represented by undersigned Counsel;
Declare the pre 8/23,1989 retiree participants’ entitlement to resumption of the
fixed-rate subsidized $55/$21 monthly premium retiree healthcare plan, fully
subsidized by the Funds;
Declare that PA 86-273 and PA 90-32 are (i) invalid to the extent the statutes
purport to either create a class of non-protected benefits of membership or (ii)
invalid as applied to the class to convert existing protected benefits into non-
protected benefits;
Issue a preliminary, and eventually a permanent injunction prohibiting the City
and Funds from reducing the group health benefits provided to class members
from the level any of them have been provided as a patticipant, from when
plaintiffs and the class members began their participation in the Plan to the
present;

Award Plaintiffs Attorneys fees and costs;

Any and all other relief the Court deems just and proper.

Dated: July 23, 2013

By:  /s/ Clinton A. Krislov
Attorney for Plaintiffs, Participants
Clinton A. Krislov

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Clinton A. Krislov, Esq.

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Civic Opera Building

20 North Wacker Drive, Suite 1300
Chicago, Illinois 60606

(312) 606-0500

Attorney Nos, 26711 / 91198

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EXHIBIT 1

Exhibit 1
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EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of
Service/Hire

LastName First Name Retired Date; Category Fund
Abbey Leon 11/26/2008 3/26/1990 CPD Policemen's
Aguinaga Richard u. 6/2/2012 10/25/1971 CPD Policemen's
Alongi Rosemarie 1/20/1991 9/29/1952 CPD Policemen's
Anderson Michelle 11/15/2010 1/3/1977 CPD Policemen's
Andier Robert 8/18/2001 4/3/1972 CPD Policemen's
Andruzzi Joseph J. 3/2/2002 4/5/1969 CPD Policemen's
Angelo Thomas 3/15/2001 6/6/1966 CPD Policemen's
Antol Robert P. 11/27/2009 5/18/1984 CPD Polticamen's
Archer Janiece 01/00/2010 00/00/1968 Municipal Municipal
Augustine Lawrence 3/1/2004 6/10/1968 CPD Policemen’s
Azara John T. 4/15/2005 11/3/1969 CPD Policemen's
Azzaro Donaid J. 1/18/2001 6/15/1970 CPD Policemen's
Baker Madelyn 00/1976 00/00/1948 CPD Poticemen's
Banahan Dennis M. 4/1/1999 3/3/1969 CPD Poticemen's
Barreto Nelson 62/00/2003 31 yrs. CPD Policemen's
Battistella John 2/14/1997 TFAN963 CPD Policemen's
‘Battisteila Irene CG. 03/00/2009 11/00/1987 Municipai Municipal
Bellavia Ronald J. 2/15/2004 4/3/1972 CPD Policemen's
Berman Barry 06/00/2011 04/00/1973} Municipal Municipal
Bernacki Gregory E. 3/18/2003 2/1afi973 CPD Policemen's
Blake Marion 7/1/1998 8/00/1965) Municipal Municipal
Blane Curtis E. 4/16/2004 4/3/1972 CPD Policemen's
Blanc Karen A. 8/2/2011 4/14/1989 CPD Poticamen's
Bobko John R. 3/15/2002 10/20/1969 CPD Policamen's
Balda Dennis J. 3/15/1998 3/4/1968 CPD Policemen's
Bonk James R. 41/15/2005 11/1f1977 CPD Poilcemen's
Bonke Fred 4/24/2000 3/1/1965 CPD Policemen's
Borsk! Anthony E. 7/1/1992 2/26/1962 CPD Policemen's
Botwinski JoAnne 5/16/2007 8/11/1986 CPD Policemen's
Boyle Leslie 2/15/2005 1/3/1977 CPD Policemen's
Breska Victor J. 3/15/2000 12/11/1968 CPD Policemen's
Brockman Ellwood W. 1/6/2000 6/14/1971 CPD Policamen's
Brosnan Pattick 7/15/2000 6/8/1968 CPR Policamen's
Caliendo dune G. 4/16/2004 2/27/1878 CPD Policemen's
Camden Patrick T.. 11/1/1998 9/14/1970 CPD Policemen's
Campion William E. 10/45/2003 2/19/1973 CPD Policemen's
Canchola Donna J. 4/18/1977 7/31/2007 Municipal Municipal
Canchola Robert A. 4/1/1985 6/30/2010 Municipal Municipal
Cepesius Michael C. 4/18/2002 1/5/1987 CPD Policemen's
Carlo Patricia Dec'd 1987 1955 CPD Policemen's

 

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EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of

Service/Hire
LastName |First Name Retired Date| Category Fund
Carr Elaine 05/00/1889 04/00/1961 cPD Polleemen's
Carroll Paul B. 5/1/1998 7/3/1967 CPD Policemen's
Cervenka Richard G. 4/15/2004 2/19/1973 CPD Policemen's
Clancy Patrick M. 5/16/2001 12/9/1968 CPD Policemen's
Clark Jeanne 7/4/2001 5/00/1975 CPD Policemen's
Clarke dames R. 3/15/2005 3/2/1970 CPD Policamen's
Clarke Patricia S. 2/15/2004 11/29/1982 CPD Policemen's
Clepp Kathy 12/16/4985 CPD Policemen’s
Clisham Sr. [John E. 9/16/1995 24/1966 CPD Policemen's
Cole Jon 8/2/1996 712211968 CPD Policemen's
Conlisk II James B. 11/15/2009 3/2/1970 CPD Policemen's
Conrad Susan M. 5/3/2012 7/10/1995 CPD Policemen's
Conrad Walter A. 4/3/2001 11/8/1965 CPD Policemen's
Considine Joseph E. 6/15/1995 2/26/1962 CPD Policemen's
Conway Carol J. 12/31/2000 14/17/1986 CPD Policemen's
Conwell Hugh 6/8/1998 11/22/1972 CPD Policemen's
Corcoran John E. 3/15/2002 7/8/1968 CPD Policemen’s
Cowell Raymond M. 7/5/2000 6/4/1973 CPD Policemen's
Coyne Michael J. 8/4/1994 3/12/1962 CPD Policemen's
Cronk Virigina M. 4/16/1999 alt9/1974 CPD Policemen's
Cunningham jJames J. 1/20/1989 00/00/1965 CPD Policemen's
Dalton Tom 42/1/2000 216977 CFD Fireman's
Danihel William 6/12/1888 3/16/1957 CPD Policemen's
Danzl Joseph M. 3/15/2000 6/13/1966 CPD Policamen's [|
Davis William 8. 4/15/2005 12/11/1978 CPD Policemen's
DeCola Salvatore L, 3/16/1999 3/4/1968 cPD Policemen's
DeFrancisco |Peter G. 1/3/7998 6/20/1966 CPD Policemen's
DeFranza Donald 1/3/998 6/31/1965 CPD Policemen's
DeGiulio William 10/2/2002 9/27/1965 CPD Policemen's
DeGryse James J. 5/16/1992 42/16/1959 CPD Policemen's
DeViva Rosalie Deed 12/31/1989 08/00/1962 CPD Policemen's
Dicks Kenneth 4/4/1992 8/22/1964 CPD Policemen's
Dickson Robert M. 4/15/1998 Mar-70 CPD Policemen's
Dorich Gerald 3/15/2002 3/2/1970 CPD Policemen's
Dorm John E, 4/15/2001 TITH969 CPD Policamen's
Dragon Dennis 7/16/1996 6/6/1966 CPD Policemen's
Drnek - Donald 42/31/2001 7/00/1957 cPD Policamen's
Droba Gerard 1/16/2006 10/18/1978 CPD Policemen's
Drummond = | Richard L. 4/15/1992 6/5/1961 CPD Policemen's
Drust Wayne W. 4/18/2001 4/3/1972 CPD Policemen's

 

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EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of
Service/Hire

LastName /|First Name Retired Date| Category Fund

Dubielak Ronald 2/16/2004 3/19/1973 CPD Policemen's
Dunn Terrence L. 41/30/2008 6/15/1970 CPD Policemen's
Dunn Sr. Lawrence J. 4/15/2004 3/19/1973 CPD Policemen’s
Durbak Andres 8/15/2000 114211972 CPD Policemen's
Dyckman Barbara 4/15/2008 10/18/1976 CPD Policemen's
Dyckman Louis 6/16/2000 2/5/1868 CPD Policemen's
Dziedzic Dennis 2/18/2006 40/22/1973 CPD Policemen's
Egan William G. 10/16/2004 7/28/1971 CPD Policemen's
Eichler Thomas 12/9/2003 12/9/1988 CPD Policemen's
Eldridge James 6/23/2007 10/23/1972 CPD Policemen's
Engelsman = | Richard - 1/5/2005 3/19/1973 CPD Policemen’'s
Eshoo John ©. 1/24/1999 1/24/1968 CPD Policemen's
Evanish Francis 4/16/1996) | 5/16/1956 CPD Policemen's
Faragoi Thomas V. 4/7/1994 1/30/1961 CPD Policemen's
Farrer Gerald 1. 6/12/1995 2/19/1962 CPD Policernen's
Faust Robert oo/00/1994 6/5/1964 CPD Policemen's
Ferriter John T. 8/15/2006 11/20/1972 CPD Policamen's
Ficke Thomas R. 4/15/2005 2/5/1968 CPD Policemen's
Fields Robert M. 6/30/1986 1/23/1961 CPD . Policemen’s
Finlayson James R. 7/1/2002 6/14/1971 CPD Policemen's
Finlayson Donna M. 4/15/1999 3/19/1873 CPD Policemen's
Fianagan, Jr. | Thomas J. 8/14/1993 6/14/1965 CPD Policemen's
Foley Janice 1/1/2004 42/4/1970 CPD Policemen's
Foran John K. 2/26/1979 2/18/1946 CPD Policamen's
Frank Albert M. 41/15/2001 3/31/1969 CPD Policamen's
Frederick Arthur G, 4/1/1996 00/00/1976 CPD Policernen's
Frost Barbara C. 4/15/2002 2/19/1974 CPD Policamen's
Fruin James E. 7/10/1991 2/26/1962 CPD Policemen's
Garrity Patrick 6/16/2005 6/4/1973 CPD Policemen's
Glowacki Christine - 7115/2011 7/19/1991 CPD Policemen's
Glynn-Johnsor Mary 6/16/2005 6/14/1962; ~~ CPD Policemen's
Gneda Diane’ Deo'd. 1979 CPD Policemen's
Gogliotti Antoinette 10/16/2006 Aug-86 CPD Policemen's
Golezak Anthony 8/15/2010 9/29/1980 CPD Policemen's
Golon William J. 7/16/2006 40/18/1976 CPD Policemen's
Golosinski Casimer L. 9/16/1992 8/13/1962 CPD Policemen's
Gottiried Alan J. 1/6/1999 6/13/1966 CPD Policemen's
Gould David R. 7/15/2004 6/1/1964 CPD Policemen's
Gray Curtis 4/15/2001 11/4/1963 CPD Policamen's
Green Mary 00/00/2001 00/00/1978 CPD Policemen's

 

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EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of
Service/Hire

LastName {First Name Retired Date! Category Fund
Gunnell Donaid L. 09/00/1984 08/00/1955 CPD Policemen's
Gutierrez George 11/15/2012 2/11/1980 CPD Policemen's
Gvozdenovich| Anthony 2/15/2008 2/1/1982 CPD Policemen's
Hagele Marvin 04/00/2000 2/18/1969 CFD Fireman's
Hammermeist¢ JoAnne Conne 8/16/2010 6/14/1982 CPD Policemen's
Hammermeistd Raymond F, 2/16/2012 9/29/1980 CPD Policeman's
Harper Juana J. 8/16/2002 6/14/1982 CPD Policemen's
Harrington Patrick J. 2/2/2001 6/15/1970 CPD Policemen's
Hartford Joseph B. 1/5/2001 $/14/1970 CPD Policemen's
Hatzel Joseph 11/16/2009 2/12/1980 CPD Policemen's
Healy John 3/1/1993 2/00/1966 CPD Policemen's
Healy Lawrence 4/4/1994 11/4/1963 CPD Policemen's
Heidemann [Fred G, 3/6/1986 3/1/4959 CPD Policemen's
Heyden Fran H. 00/00/1994 00/00/1971 CPD Policemen's
Horkavy Gregory L. 1/31/2010 9/14/1970 CPD Policamen's
Horne Ross 7/18/2001 7/25/1966 CPD Policemen's
Hourihane Michael 1/2/1998 4/19/1965 CPD Policemen's
Hujar Richard A. 00/00/1997 00/00/1965 CPD Policemen's
Ippolito Joseph C. 3/16/2006 10/25/1971 CPD Policemen's
Ippolito Patricia 4/25/2004 12/13/1993 CPD Policemen's
lvanjack Anthony d. 2/22/2001 12/14/1970 CPD Policemen's
Januszyk Donald 1/15/2003 6/15/1970 CPD Policemen's
Jazdyk Raymond 3/1/1989 2/16/1958 CPD Policemen's
Jin Tony H. 1/4/2006 1/3/1977 cPD Policamen’s
Johnson Harold 04/00/1996 10/23/1972 CPD Policemen's
Johnston Marie C. 5/15/2005 2/11/1980 CPD Policemen's
Julien Patricia Lou 1/15/1999 2/19/1974 CPD Policemen's
Kann Vivian J. 8/1/1984 00/00/1956 CPD Policemen's
Karl Joyce L. 5/1/1998 1/1/1968 CPD Policemen's
Keane Carole L. Dec'd 4/6/1993 06/00/1972 CPD Policemen's
Kehoe James G. 4/16/2004 2/19/1973 CPD Policemen's
Keller, Jr. Frank J, 4/15/2003 12/14/1970 CPD Policemen's
Kelly Francis 10/15/1988 1/23/1961 CPD Policemen’s
Kern George "Steve 6/00/1995 4/11/1966 CPD Policemen's
King Walter 4/15/2000 11/20/1872 CPD Policemen's
Klauba Bennet 6/28/2003 6/14/1971 CPD Policamen's
Kliner Donald C, 8/12/1996 7/18/1966 CPD Policemen's
Kliner Helen 2/19/1993 2/19/4973 CPD Policemen's
Kladnicki John H. 11/1/1992 7H6/1966 CPD Policemen's
Kobel Richard 6/30/2005 3/19/1973 CPD Policemen’s

 

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EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of
, Service/Hire

LastName [First Name Retired Date} Category Fund
Kocur Thomas M. 4/1/2000 3/00/1970) - CPD Policemen's
Kopbenhoefer!Charels 9/8/1992 3/5/1962 CPD Policemen's
Kotowlcz James F. 3/4/1997 1/22/1968 CPD Policemen's
Kouchoukos |Andrew F. 7/31/1998 7/26/1971 CPD Poilcemen's
Kozaritz John A. 4/15/2000 2/27/1967 CPD Policemen's
Krupowicz Kenneth G. 2/22/2041 12/14/1970 CPD Policemen's
Kwiatkowski | Robert P. 1/1/2000 3/1/1968 CPD Policemen's
Lambros Kathleen 4/1/1999 3/8/1976 CPD Policemen's
Lampard Marilyn C. 9/15/2006 0/8/1986 CPD Policemen's
Leracz Edmond 8/15/2007 11/3/1969 CPD Policemen's
Loftus James R. 3/15/2011 1/28/1980 CPD Policemen's
Logan Patrick 8/15/2007 6/15/1970 CPD Pollcemen's
Lorenz John G. 7/16/2002 6/8/1964 CPD Policemen's
Lotito James M. 3/00/2001 2/1/1968 CPD Policemen's
Lucchesi James 00/00/1996 00/00/1957 CPD Pollcemen's
Maderak Terry 4/1/2010 8/1/1987 CPD Policemen's
Madigan Raymond 8/1/2009 4/3/1972 CPD Policemen’s
Madsen Theodore J. 6/15/2000 6/4/1973 CPD Policemen's
Majeske Carol 6/16/2001 4/13/1981 CPD Policemen's
Majeske Albert R. 00/00/1998 00/00/1966) Laborers Laborers
Makowski Karen A. 1/15/2007 12/11/1978 . CPD Policemen's
Maley Muriel M. 4/1/1984 8/2/1948 CPD Policemen's
Manning Jennifer 3/6/2009 2/13/1989 CPD Policemen's
Maratio Kathleen 2/15/2009 9/16/1968 CPD Policemen's
Mares Achilles 2/18/2012 2fti1982 CPD Policemen's
Martin Patrick 4/15/2003 6/10/1965 CPD Policemen's
Massi John 8. 8/1/2006 6/18/1986 CPD Policemen's
McCann Kenneth J. 6/1/1986 2/1/1958 CPD Policemen's
McCarthy George 2/16/1999 1/24/1966 CPD Policemen’s
McFadden Robert J. 1/18/1999 10/17/4966 CPD Policamen's
McGivney John M. 4/15/2000 3/2/19790 oPD Policemen's
McNulty Robert J. 6/30/2011 5/15/1979} Municipal Municipai
Midona Barbara A, 4/15/2013 7/19/1982 CPD Policemen's
Midona, Sr. iJoseph A. 1/15/2008 9/10/1970 CPD Policemen's
Milam Mary J. 1/15/2007 12/11/1978 CPD Pollcemen's
Milazzo-Triggs Catherine Dec'd 5/13/2003 00/00/1966 CPD Policemen's
Miller James 4/15/2005 00/00/1970 CPD Policemen's
Miller John F. ~ 6/00/1990 10/9/1961. CPR Policamen's
Minich John 3/5/2006 74/1966 CPD Policemen's
Mitkal Victor 4/8/2012 10/18/1976 CPD Policemen's

 

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EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of
Service/Hire
LastName [First Name Retired Date| Category Fund
Morgan Charles E. 8/16/2012 7/19/1982 CPD Policamen’s
Morgan, Jr. |Walter J. 8/16/1996 6/1/1966 CPD Policemen's
Morley Christine 1/16/2006 4/26/1976 CPD Policemen's
Morse Robert C. 1/15/1999 2/6/1966 CPD Policemen's
Mosiacchio |Santo V. 3/31/2001 12/14/1970 CPD Policemen's
Mueller Joan 4/00/1880 00/00/1955 CPD Policemen's
Munoz Luis 4/13/2012 3/4/1985 CPD Policeman's
Murphy Marie Irene 2/15/2002 11/00/1973 CPD Policemen's
Murray Michael M. 10/1/1998 2/20/1973 CPD Policemen's
Mushol Dennis 11/15/2012 8/11/1986 CPD Policemen's
Nagle Jeffery Jon 1/5/2001 6/15/1970 CPD Policemen's
Nakaguchi [Ann M. 7/30/2010 3/16/1981 CPD Policemen's
Nauer Donaid B. 4/48/1999 9/14/1970 CPD Policemen's
Nieckula Cynthia 11/1/2008 6/8/1984 CPD Policemen's
Nork Charles 7/19/1995 6/2711966 CPD Policemen's
Nyhan Thomas P. 1/5/1997 9/27/1965 CPD Policemen's
O'Connor Margaret 00/00/1987 00/00/1948 CPD Policemen's
Ogarek Joseph 07/00/2002 09/00/1969 CPD Policemen's
_ {Olivieri Edwin 10/22/1991 5/9/1966 CPD Policemen's
O'Malley Francis 10/1/1988 00/00/1948 CPD Policemen's
Onesto Philip 2/16/1986 9/1/1958 CPD Policemen's
O'Reilly Bernard 3/16/1991 5/15/1956 CPD Policemen's
O'Rourke James A, 5/7/1997 12/11/1967 CPD Policemen's
Oskielunas [Adam B. 00/00/1984 00/00/1952 CPD Policemen's
ot Roy J. 3/5/1996 1/2/1961 CPD Pollcemen's
Palmer Ronald A. 9/15/2005 6/14/1971 CPD Policemen's
Paoletti James M. 11/16/2008 11/2/1970 CPD Policemen's
Paoletti Grayceanne 11/16/2008 6/23/1980 CPD - Policemen's
Pappalardo [John C. 4/1/2010 6/8/1981 CPD Policemen's
Parizanski Paul 1/15/2001 2/19/1962 CPD Policemen's
Patt Corinne 00/1976 00/00/1946 CPD Policemen's
Pemberton Patrick M. 8/16/1999 8/13/1962 CPD Policemen's
Peron Robert J. 4/16/2004 10/22/1973 CPD Policemen's
Pizzo Angeline 00/00/1988 00/00/1957 CPD Policemen's |
Poedike Ronald 03/00/1988 03/00/1959 CPD Policemeén's |
Poholik Peter F. 111998 04/00/1965 CPD Policemen's |
Ponirelli Darlene 41/30/2000 3/16/1957 CPD Policemen's
Ptak Theodore 2/15/2009 7I3i1967 CPD Policemen's
Quinn Sylvia A. 8/15/2008 4/26/1976 CPD Policemen‘s
Quinn Robert F. 07/00/1999 6/1/1864 CPD Policamen's

 

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EXHIBIT 1; NAMED PLAINTIFFS

 

Years of

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Service/Hire

LastName First Name Retired Date] Category Fund
Ratledge Robert D. 1/16/1995 3/1/4959 CPD Policemen's
Reiter Mark 8/16/2002 3/19/1973 CPD Policemen’s
Retzke Gery 4/27120114 3/27/1991 CPD Policemen's
Reynolds Thomas A. 1/20/1999 8/15/1966 CPD Policemen’s
Rhoden Dawn 9/15/2006 6/14/1982 CPD Policemen's
Rhoden Raiph 8/15/2004 6/8/1981 CPD Policemen's
Rieck Judith 2/1/4995 5/18/1981 CPD Policemen's
Rimkus Stanley 6/15/2008 4/4/1977 CPD Policemen's
Riordan Ann 4/15/2009 78/1973 CPD Policemen's
Rodgers Audrey 1/10/2010 10/13/1986 CPD Policemen's
Rohloff Richard P. 5/4/2004 2/22/1971 CPD Policemen's
Rooney Sr. Patrick F. 6/16/2006 10/28/1971 CPD Policemen's
Roscich Anthony M. 11/29/2000 6/20/1966 CPD Policamen's
Ross Kenneth C, 4/15/2002 10/23/1972 cPD Policemen's
Rowan Michael 4/15/1998 7/8/1968 CPD Policemen's
Rowan Karen 3/20/2006 7/19/1982 CPD Policemen's
Rowan Richard “2116/2004 10/23/1973) - CPD Policemen's
Ruback Charles R. 5/15/2004 3/2/1970 CPD Policemen's
Rumsfeld Alma 6/19/2009 6/16/1986 CPD Policemen's
Ryan David 11/00/2003 14/1/1977 CPD Policemen's
Sandow Catherine A. 1/10/2007 10/13/1986 CPD Policemen's
Sandow James 1/15/2000 6/1/1966 CPD Policemen's
Sappanos Thomas 1/16/2008 10/18/1976 CPD. Policemen's
Sarnowski Ret. Sgt. Robe 5/16/1999 6/14/1974 CPD Policemen's
Sasso Kathryn 6/1/2009 5/18/1981 CPD Policemen's
Scacchitti Raymond 00/00/1990 00/00/1982 Laborers Laborers
Scalise Anthony J. 4/16/2007 11/20/1987 CPD Policemen's
Schrager Daniel V, 6/22/1998 6/15/1970 CPD Policemen's
Schreiner Angela M. 9/3/1996 6/27/1966 CPD Policemen's
Schultz Marshal A. 3/16/2006 10/23/1972 CPD Policemen's
Schwab John 6/19/2012 3/1/1982 CPD Policemen's
Schwariz Gerald 2/1/1986 10/00/1957 | - CPD Policemen's
Sebastian, Jr. |Roy D. 6/18/1893 3/16/1973 CPD . Policemen's
Seils Richard C. 9/1/1980 9/1/1956 CPD Policemen's
Seike William J. 5/16/1998 10/17/4966 CPD Policemen's
Selke Jerome ©. 3/11/1994 2/18/1965 CPD Policemen's
Seyfert Judith A. 2/15/2005 431977 CPD Policemen's
Seyfert Eugene H. 2/21/2010 4/4/1977 CPD Policemen's
Shuman Bernard 6/16/1997 3/16/1989 CPD Policemen's
Signoretti J. Robert 10/22/1973 CPD Policemen's

 

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Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 49 of 56 PageID #:12

EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of

Service/Hire
LastName (First Name Retired Date| Category Fund
Sloma Raymond T. 4/15/1999 8/19/1966 CPD Policemen's
Smith Deborah K. 44144 5/2001 10/18/1976 CPD Policemen's
Smith Charles J. 6/16/1998 3/11/1968 CPD Policemen’s
Sobezyk Jane Dec'd. 1/1981 10/16/1957 CPD Policemen's
Sowinski Ronald 8/00/1995 7/41/1966 CPD Pollcemen's
Specht Robert 1/16/1999 9/14/1970 CPD Policemen's
Spedale Dominic 6/16/4989 6/1/1956 CPD Policemen's
Spratt Doris Dec'd 10/10/1983 00/00/1955 CPD Policemen's
Stampnick /Raymond L. 3/15/2000 1/19/1970 CPD Policemen's
Staszak Norbert 8/16/2003 11/14/1966 GPD Policemen's
Steinmeier = {Arthur M. 9/15/4895 12/19/1966 CPD Policemen's
Strazzante !Charies M. 3/18/1998 3/3/1970 CPD Policemen's
Suess Robert 2/15/2004 2/27/1967 CPD Policemen's
Sullivan Michaei T. 6/15/2000 6/4/1973 CPB Policemen's
Sutor Yvonne 11/16/2007 THBM977 CPD Policemen's
Swiatkowski | Daniel 10/14/2002 Jun-73 CPD Policemen’s
Szparkowski |Debra 8/18/2008 8/11/1986 CPD Policemen’s
Szparkowski |Gary 2/3/2005 5/23/1975 CPD Policemen's
Tapkowski Roman 2/16/2001 {0/28/1968 CPD Policernen's
Terrance Timothy J. §/21/1999 2/27/1978 CPD Policemen's
Thuiis John 6/7/1997 6/6/1966 CPD Policamen's
Tebuch Lawrence J, 3/23/1993 8/12/1962 CPR Policemen's
Tolley John F. 6/1/1993 11/4/1963 CPD Policemen's
Tomaska Joseph A. 4/15/2002 5/30/1966 CPD Policemen's
Tracey Robert J. 4/15/1999 12/18/1967 CPD Policemen's
Troken Eugene B. 06/00/1998 06/00/1964 cPD Policemen’s
Underwood |Michael W. 4/15/2002 10/23/1972 CPD Policamen’s
Utz James J. 8/15/1999 8/12/1968 CPD Palicemen's
Utz - Chartes A. 10/16/2012 2/14/4989 CPD Policemen’'s
Vitaioli Paul 4/1/2002 71/1969 CPD Policemen's |.
Vitaioli Kathleen 4/15/2007 3/9/1987 CPD Policeren's
Vogt Vince 5/2{2005 3/19/1973 CPD Policemen's
Vucko Ralph E. 04/00/2000 12/11/1967 CPD | Policemen's
Vuich Joseph M. 4/00/1996 4/00/1964 CFD Fireman's
Wagner Patricia M. 2/23/1988 00/00/1955 CPD Policemen’s
Webb James E. 12/31/2004 10/23/1972 CPD Policemen's
Webb Laura M. 4/6/2002 9/29/1980 CPD Policemen's
Weber Matthew E. 6/16/2000 6/4/1973 CPD Policemen's
Welninski Anthony 2/15/2004 11/28/1966 CPD Policemen's
Wengel David J. 5/15/2001 11/25/1968 CPD Policemen's

 

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Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 50 of 56 PageID #:12

EXHIBIT 1: NAMED PLAINTIFFS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Years of

Service/Hire
LastName  |First Name Retired Date| Category Fund
Whalen Thomas Micha 3/15/2004 6/145/1971 CPD Policemen's
White Glenn L. 4/15/1999 2/19/1973 CPD Policemen's
White Ralph 4/15/2001 4/3/1972 CPD Policamen's
Wiberg Wayne A, 2/15/2006 7/18/1966 CPD Policemen's
Winter Joyce A. 2/7/1980 8/13/1962 CPD Policemen's
Wolfe Joseph 6/1/2004 8/2/1962 CPD Policemen's
Woody Lorraine Dec'd 1978 03/00/1959 CPD Policemen's
Yablong Phil H, 2/1/1984 12711947 CPD Policemen's
Young Phillip P. 4/15/2002 2/28/1978 CPD Policemen's
Zolna Clifford A. 4/2/2003 3/19/1973 CPD Policemen's
Zurawik James E. 4/15/2004 AIAI1977 CPD Policemen's
Zurawskl James J. 7/5/1990 6/29/1961 CPD Policemen's
Total Named Plaintiffs: 332

 

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Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 51 of 56 PagelD #:12

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| ED
IN THE CIRCUIT COURT OF COOKEQOUNTENG ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION.

Michael W. Underwood, Joseph M. Vuich, Raymond
Scacchitti, Robert McNulty, John E, Dorn, William J.
Selke, Janiece R. Archer, Dennis Mushol, Richard
Aguinaga, James Sandow, Catherine A. Sandow, Marie
Johnston, and 320 other Named Plaintiffs listed in
Exhibit 1,

Plaintiffs,
VS.

CITY OF CHICAGO, a Municipal Corporation,
Defendant,
and

Trustees of the Policemen’s Annuity and Benefit Fund
of Chicago: Amer Ahmad, Juan Carlos Avila, Kenneth
Hauser, Michael Kk. Lappe, James P. Maloney,
Stephanie Neely, Lois A. Scott, Brian Wright; and

Trustees of the Firemen’s Annuity and Benefit Fund of
Chicago; Amer Ahmad, Walter Carlson, Dan P.
Fabrizio, Anthony Martin, Stephanie Neely, Michael
Shanahan, Charles Stewart, III, Susana Mendoza; and

Trustees of the Municipal Employees’ Annuity and
Benefit Fund of Chicago: Amer Ahmad, Anthony
Clancy, Martin J. Durkan, Timothy G, Guest, Stephanie
Neely; and

Trustees of the Laborers’ & Retirement Board
Employees’ Annuity & Benefit Fund of Chicago: Amer
Ahmad, John Arvetis, Carol Hamburger, William L.
Irving, Michael LoVerde, Stephanie Neely, Joseph
Rinella, Lois Scott,

Defendants.

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Case No. 2013-CH-17450

CLASS ACTION
COMPLAINT

JURY TRIAL DEMANDED

Previous Nos. 01 CH 4962 and
87 CH 10134

 

NOTICE OF MOTION

. wy “Pp
PLEASE TAKE NOTICE that on August/, 2013 at af a.m., ot as soon thereafter as counsel
may be heard, I shall appear before the Rita M. Novak, or any judge sitting in her stead, in the

I
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 52 of 56 PagelD #:12

Courtroom usually occupied by her in Room 2402 of the Richard J, Daley Center, Chicago,
Illinois, and shall then and there present Plaintiff Underwood’s Motion for Substitution of
Judge, a copy of which is attached,

Date: July 26, 2013 (BSL, Khe,
By: Zi Sg

~ Clinton A“Krislov
Attorney for Plaintiff
Clinton A. Krislov
Kenneth T. Goldstein
KRISLOV & ASSOCIATES, LTD.
20 North Wacker Drive, Suite 1300
Chicago, IL 60606
(312) 606-0500
Attorney Nos. 26711/91198

clint@krisloviaw.com
ken@krisloviaw.com
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 53 of 56 PageID #:12

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IN THE CIRCUIT COURT OF COOK CHONG citsh; NOIS
COUNTY DEPARTMENT, CHANCERY DIVISION?"
UWL 26 py 9,
Michael W. Underwood, Joseph M. Vuich, Raymond ‘33
Scacchitti, Robert McNulty, John E. Dorn, William J.
Selke, Janiece R. Archer, Dennis Mushol, Richard
Aguinaga, James Sandow, Catherine A. Sandow, Marie

Johnston, and 320 other Named Plaintiffs listed in

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OCS ET Tg ChERA
Case No. 2013-CH-17450

Exhibit 1,
Plaintiffs, CLASS ACTION
VS. COMPLAINT
CITY OF CHICAGO, a Municipal Corporation, JURY TRIAL DEMANDED

Previous Nos. 01 CH 4962 and
87 CH 10134

Defendant,
and

Trustees of the Policemen’s Annuity and Benefit Fund of
Chicago: Amer Ahmad, Juan Carlos Avila, Kenneth
Hauser, Michael K. Lappe, James P. Maloney, Stephanie
Neely, Lois A. Scott, Brian Wright; and

Trustees of the Firemen’s Annuity and Benefit Fund of
Chicago: Amer Ahmad, Walter Carlson, Dan P.
Fabrizio, Anthony Martin, Stephanie Neely, Michael
Shanahan, Charles Stewart, III, Susana Mendoza; and

Trustees of the Municipal Employees’ Annuity and
Benefit Fund of Chicago: Amer Ahmad, Anthony
Clancy, Martin J, Durkan, Timothy G. Guest, Stephanie
Neely; and

Trustees of the Laborers’ & Retirement Board
Employees’ Annuity & Benefit Fund of Chicago: Amer
Ahmad, John Arvetis, Carol Hamburger, William L.
Irving, Michael LoVerde, Stephanie Neely, Joseph
Rinella, Lois Scott,

é

Defendants.
MOTION FOR SUBSTITUTION OF JUDGE
Plaintiff, Michael W. Underwood, by his attorneys, Clinton A. Krislov, pursuant to 735
ILCS 5/2-1001, requests that this Court grant a substitution of judge as of right. In support of this

motion, plaintiff states:
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 54 of 56 PagelID #:12

a) Pursuant to 735 ILCS 5/2-1001(a}(2), cach party is entitled to one substitution of
judge without cause as a matier of right.

b) An application for substitution of judge as of right shall be made by motion and
shall be granted if it is presented before trial or hearing begins and before the judge to whom it is
presented has ruled on any substantial issue in the case. 735 ILCS 5/2-1001(a)(2)Gi). |

c) No trial or hearing has begun on this case, and the presiding judge has not ruled on
any substantial issue in the case.

WHEREFORE, plaintiff respectfully requests that the Court grant his motion for

Attorney L Plaintiff

substitution of judge as of right.

Clinton A. Krislov

Kenneth T. Goldstein

KRISLOV & ASSOCIATES, LTD.
20 N. Wacker Drive, Suite 1360
Chicago, Illinois 60606

Atty, Firm No. 91198
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 55 of 56 PageID #:12

CERTIFICATE OF SERVICE

I, Clinton A. Krislov, an attorney, state that on July 26, 2013, I caused a courtesy copy of
the foregoing Notice of Motion and attached Motion for Substitution of Judge to be served
upon the parties listed below on the Service List via facsimile and via U.S. Mail, postage prepaid
and properly addressed, by depositing same in the mailbox located at 20 N, Wacker Drive,

Chicago, Illinois.

Jennifer Naber

Joseph Gagliardo

Laner, Muchin

515N. State Street, 28th Floor
Chicago, IHinois 60610

Phone: 312-494-5359

Fax: 312-467-9479

Counsel for The City of Chicago

Mr. Graham Grady

Mr. Cary Donham

Shoefsky & Froelich

111 FE. Wacker Drive, Suite 2800
Chicago, Iinois 60601

Phone: 312-527-4000

Fax: 312-527-4011

Counsel for the Municipal Employees’
Annuity and Benefit Fund of Chicago

c

 

Clinton A. Krislov

SERVICE LIST

Mr. Edward J. Burke

Mary Patricia Burns

Burke, Burns & Pinelli Ltd.

Three First National Plaza, Suite 4300
Chicago, IT 60602

Phone: 312-541-8600

Fax: 312-541-8603

Counsel for The Firemen’s Annuity and Benefit
Fund of Chicago and The Municipal
Employees’ and Benefit Fund of Chicago

Mr. David R. Kugler

David R. Kugler & Associates, Ltd.

100 N, LaSalle, Suite 501

Chicago, IHinois 60602

Phone: 312-782-5430

Fax: 312-782-5450

Counsel for the Policemen’s Annuity and
Benefit Fund of Chicago
Case: 1:13-cv-05687 Document #: 1-1 Filed: 08/09/13 Page 56 of 56 PageID#:12 .

Transfer Order Within Division ; (Rev. 12/16/10) CCCH 0601

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

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ve No. {3 CH (RY Sep

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TRANSFER ORDER WITHIN DIVISION

The above-entitied and numbered cause having been previously assigned to Judge
Woy fr Yan , Chancery Calendar # , said Judge having

4311 granted a change of Judge.

8211 J rounrt, Mie Underwood, atioed

For, the folly in rppsons: Nundey Fat TEs E/2r » {O0] ce) C2 bs SrA,
“Ee i$ rot, ‘A beck ‘b Rsk ttt ons Aetal ito}

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4282 It is hereby transferred to Judge Moshe Jacobius, Presiding Judge of the Chancery
Division for the purpose of reassigning said cause.

JUDGE RITA M. NOVAK

 

Pr

Judge AUG 027013 Judge No.

Circuit Court-1741_
8202 ITIS HEREBY ORDERED that the above-entitled cause is hereby forwarded to

DOROTHY BROWN, Clerk of the Circuit Court of Cook County for reassignment.
IT JS FURTHER ORDERED that said Clerk shall draw a new calendar number by
random electronic process from the category bank designated in the original pleading.

 

MOSHE JACOBIUS . "No, 1556
PRESIDING JUDGE
CHANCERY DIVISION

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
